        Case 2:04-cr-00205-TLN Document 471 Filed 04/28/11 Page 1 of 3


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 5
 6   ATTORNEY FOR DEFENDANT
     CARLOS LEE SANCHEZ
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 8
 9                IN THE UNITED STATES DISTRICT COURT FOR THE
10                      EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,     )               CR.-S-04-205-GEB
12                                 )
          PLAINTIFF,               )               STIPULATION AND
13                                 )               ORDER TO CONTINUE STATUS OF
          v.                       )               ALLEGED VIOLATION TO
14                                 )               FRIDAY, JULY 22, 2011
     CARLOS LEE SANCHEZ,           )
15                                 )
          DEFENDANT.               )
16   _______________________________)
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Dan McConkie and defendant, Mr. Carlos Lee Sanchez, Jr., by his
19   attorney Mr. James R. Greiner, hereby stipulate and agree that the status conference
20   calendared for Friday, April 29, 2011, at 9:00 a.m. before the Honorable United
21   States District Court Judge, Garland E. Burrell, Jr., may be continued to Friday, July
22   22, 2011, at 9:00 a.m..
23         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
24   ensure the Court’s calendar was available for that date and the Court is available on
25   Friday, July 22, 2011.
26        The defendant is out of custody under supervision, and consents to the
27 continuance.
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           Case 2:04-cr-00205-TLN Document 471 Filed 04/28/11 Page 2 of 3


 1           The continuance is requested for several reasons: 1-the defense is doing on
 2 going investigation; 2- the defense is continuing to review the material in this matter
 3 and 3- the defendant has a State Court Trial on the very issues of the filed Petition in
 4 this Court and the result of the trial in State Court will be of assistance in helping to
 5 resolve this matter and by allowing the State Court trial to proceed first it will be a
 6 cost savings to both the government and this Court. There is no speedy trial act
 7 requirement for exclusion of time, however, the defendant does agree and consent to
 8 this continuance after being informed by telephone conference of the case,
 9 circumstances and his legal rights.
10
11                                    Respectfully submitted,
                                      BENJAMIN B. WAGNER
12                                    UNITED STATES ATTORNEY
13                                    /s/ DAN McCONKIE by e mail authorization
     DATED: 4-26-11                   _____________________________________
14                                    DAN McCONKIE
                                      ASSISTANT UNITED STATES ATTORNEY
15                                    ATTORNEY FOR THE PLAINTIFF
16
     DATED: 4-26-11                   /s/ James R. Greiner
17                                    _______________________________________
                                      James R. Greiner
18                                    Attorney for Defendant
                                      Carlos Sanchez
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 1
                                      ORDER
 2
 3
         THE MATTER IS CONTINUED.
 4
 5 Dated: April 28, 2011
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 8                                  GARLAND E. BURRELL, JR.
                                    United States District Judge
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